Case 1:20-cv-22594-AHS Document 43 Entered on FLSD Docket 08/05/2020 Page 1 of 4



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                        CONSOLIDATED ACTION

                                                                    CASE NO. 20-60851-CIV-SINGHAL
                                                                    CASE NO. 20-22207-CIV-SINGHAL
                                                                    CASE NO. 20-22316-CIV-SINGHAL
                                                                    CASE NO. 20-22594-CIV-SINGHAL


  IN RE: UNIVERSITY OF MIAMI COVID-19 TUITION
  AND FEE REFUND LITIGATION
  ____________________________________________/

                                   ORDER CONSOLIDATING CASES

          THIS CAUSE is before the Court upon the Notice of Pending, Refiled, Related or

  Similar Actions filed by Defendant, University of Miami. Four putative class action cases

  against the University of Miami have been assigned to this Court: Dimitryuk v. University

  of Miami, Case No. 20-60851-CIV-SINGHAL; Weiss v. University of Miami, Case No. 20-

  22207-CIV-SINGHAL 1; Gold v. University of Miami, Case No. 20-22316-CIV-SINGHAL;

  and Dixon v. University of Miami, Case No. 20-22549-CIV-SINGHAL. Each case seeks

  a partial refund of tuition and fees paid by (or on behalf of) University of Miami students

  for the Spring 2020 semester after the university transitioned to remote online learning in

  March 2020 in response to the COVID-19 pandemic.

          The parties have filed statements on whether the cases should be consolidated2

  and the Court has heard argument of counsel. Plaintiffs assert that the cases should be

  consolidated and have agreed to appointment of a lead counsel. The University of Miami


  1 The Weiss case was filed first in the District of South Carolina but was transferred to this Court after
  Dimitryuk was filed.
  2 The University of Miami has moved to dismiss or stay the Gold, Weiss, and Dixon cases while the Court

  proceeds with the Dimitryuk, which was the first-filed in this District. The Dimitryuk case is not yet at-issue,
  but a motion to dismiss the Amended Complaint is fully briefed.
Case 1:20-cv-22594-AHS Document 43 Entered on FLSD Docket 08/05/2020 Page 2 of 4



  opposes consolidation and argues that the Court should proceed with the first case filed

  in this District and stay or dismiss the three remaining cases. After careful consideration,

  the Court determines that the cases should be consolidated.

         Federal Rule of Civil Procedure 42(a) authorizes the district court to consolidate

  cases when the cases involve common questions of law or fact. “This rule is a codification

  of a trial court's inherent managerial power ‘to control the disposition of the causes on its

  docket with the economy of time and effort for itself, for counsel and for litigants.’” Hendrix

  v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985) (citations omitted).

  “In exercising its considerable discretion, the trial court is obliged to consider whether the

  specific risks of prejudice and possible confusion are overborne by the risk of inconsistent

  adjudications of common factual and legal issues, the burden on parties, witnesses and

  available judicial resources posed by multiple lawsuits, the length of time required to

  conclude multiple suits as against a single one, and the relative expense to all concerned

  of the single-trial, multiple-trial alternatives.” Eghnayem v. Bos. Sci. Corp., 873 F.3d

  1304, 1313–14 (11th Cir. 2017) (citations omitted). “District court judges in this circuit

  have been urged to make good use of Rule 42(a) in order to expedite the trial and

  eliminate unnecessary repetition and confusion.” Id. (quoting Young v. City of Augusta,

  59 F.3d 1160, 1169 (11th Cir. 1995)).

         There is no dispute that the four cases before the Court arise out of the same facts

  and circumstances and seek the same relief. And there is no dispute that proceeding on

  four nearly identical cases at the same time will burden the Court, the parties, and

  witnesses with unnecessary expenditures of time and resources. The University of Miami




                                                2
Case 1:20-cv-22594-AHS Document 43 Entered on FLSD Docket 08/05/2020 Page 3 of 4



  clearly stated so in the motions to dismiss or stay filed in the Weiss, Gold, and Dixon

  cases.

           The University of Miami argues that only one case – Dimitryuk – should proceed

  and the others should be dismissed or stayed. Indeed, the University filed no substantive

  motions in Weiss, Gold, or Dixon. Rather, it moved to dismiss or stay those cases and

  allow Dimitryuk to proceed as the first-filed case. The first-filed rule, however, is not

  applicable in this case because all four cases are in the same district. “The first-filed rule

  provides that when parties have instituted competing or parallel litigation in separate

  courts, the court initially seized of the controversy should hear the case.” Collegiate

  Licensing Co. v. Am. Cas. Co. of Reading, Pa., 713 F.3d 71, 78 (11th Cir. 2013) (quoting

  Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Haydu, 675 F.2d 1169, 1174 (11th Cir.1982)

  (emphasis added)). For the first-filed rule to apply, the cases must be in different courts;

  when the competing cases are filed in the same court, the remedy is consolidation

  pursuant to Rule 42. See id. (“The first-filed rule not only determines which court may

  decide the merits of substantially similar cases, but also generally establishes which court

  may decide whether the second filed suit must be dismissed, stayed, or transferred and

  consolidated.” (emphasis added)). In that all four cases are pending in the same court,

  the Court concludes that consolidation is the proper course of action.

           The Court is mindful of the University of Miami’s concern about delay and

  duplicative work given that Motion to Dismiss in Dimitryuk is fully briefed. On balance,

  however, the relatively slight delay and extra work generated by the filing of a

  consolidated complaint is outweighed by the efficiency and judicial economy served by

  consolidation. Accordingly, it is hereby



                                                3
Case 1:20-cv-22594-AHS Document 43 Entered on FLSD Docket 08/05/2020 Page 4 of 4



        ORDERED AND ADJDUGED as follows:

        1. Case Numbers 20-22207-CIV-SINGHAL, 20-22594-CIV-SINGHAL, AND 20-

           22316-CIV-SINGHAL are CONSOLIDATED with Case Number 20-60851-CIV-

           SINGHAL.

        2. All pleadings and papers shall be filed with Case Number 20-60851-CIV-

           SINGHAL and shall henceforth bear the new consolidated caption set forth by

           the Court on page 1 of this Order.

        3. Plaintiffs shall file a Motion to Appoint Lead Counsel no later than August 7,

           2020. Lead Counsel shall file a Consolidated Complaint within fourteen (14)

           day of appointment.

        4. Case Numbers 20-22207-CIV-SINGHAL, 20-22594-CIV-SINGHAL, AND 20-

           22316-CIV-SINGHAL shall be ADMINISTRATIVELY CLOSED.                        Any

           documents filed in the administratively closed cases in the future shall be

           automatically stricken.

        5. The Clerk shall place a copy of this Order in each of the following cases: Case

           Numbers 20-22207-CIV-SINGHAL, 20-22594-CIV-SINGHAL, AND 20-22316-

           CIV-SINGHAL.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 5th day of

  August 2020.



  Copies furnished counsel via CM/ECF




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